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                                                                 ,,c   n
             IN THE UNITED STATES DISTRICT COURT FOR THEp-S-DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA          AUGUSTA OiV.
                              DUBLIN DIVISION                   ^OlSQCT -3 PM |
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                                       *
UNITED STATES OF AMERICA                                       CLERK-j
                                       *                           SO. Disroi' GA.
                                       *
            V.                                  CR 314-002
                                       *

                                       *
MICHAEL DERRICK COINS




                                   ORDER




      Defendant Michael Derrick Coins recently filed two motions in

this criminal matter.         First, in his "Request for Documents,"

Defendant complains that he never received any discovery^ or any

transcripts of proceedings in the case.          This is the not the first

time Defendant has sought documents.         By Order of May 5, 2016, the

Court explained the reasons that he is not entitled to court-

provided documents.       (See Order of May 5, 2016, Doc. No. 385.)

For the reasons previously articulated. Defendant's "Request for

Documents" (doc. no. 471) is hereby DENIED.

      Defendant has also filed a "Motion to Clarify."            Therein, he

asks the Court to provide the "starting point for determining a

guideline sentence of imprisonment" and "the actual drug amount."

(Doc. No. 470.)     Defendant states that he believes there has been

some "misunderstanding" and that he did not receive credit for



      ^  As explained to Defendant previously, the Court's criminal case file
does not contain discovery documents and therefore could not be provided to him
in any event.
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acceptance of responsibility.               He further raises an issue about

his home address.       Defendant appears to be sowing the seeds of an

attack against the legality of his sentence, which must be done

through a motion under 28 U.S.C. § 2255.              The problem for Defendant

is twofold.    First, his plea agreement contains a broad appeal and

collateral attack waiver.            Second, he has already filed a § 2255

motion, which was dismissed as untimely on January 18, 2017.                      (Doc.

No. 418.)     Thus, in order for Defendant to bring another § 2255

motion, he would have to move the Eleventh Circuit Court of Appeals

for   an   order   authorizing       this    Court   to   consider       a    second   or

successive § 2255 motion. See 28 U.S.C. §§ 2255, 2244(b)(3).                           In

short, the Court owes Defendant no explanation unless he uses a

proper     procedural      vehicle     to    challenge       his    conviction         and

sentence.      For   the    reasons    stated,       there   is    no   such    vehicle

available to him that would invoke this Court's jurisdiction or

warrant     consideration.       Accordingly,          Defendant's           "Motion    to

Clarify" (doc. no. 470) is DENIED.

        ORDER ENTERED at Augusta, Georgia, this                         ay of October,

2018.




                                               UNITED states DISTRICT JUDGE
